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                           BEFORE THE UNITED STATES
                        JUDICIAL PANEL ON MULTIDISTRICT
                                   LITIGATION

IN RE: Oral Phenylephrine Marketing and Sales
Practices Litigation                                                           MDL No. 3089

                                   PROOF OF SERVICE

        In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, I hereby certify that copies of Kevin S. Hannon’s Notice of
Appearance and this Certificate of Service were served on all parties in the following case
electronically via ECF, or as indicated below, on September 21, 2023.

Pack, et al., v. Johnson & Johnson Consumer Companies, Inc., et al., Eastern District of
California No. 2:23-cv-01965

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Johnson & Johnson Consumer Companies, Inc.
Law Department
Johnson & Johnson Consumer, Inc.
One Johnson & Johnson Plaza
New Brunswick, NJ 08933

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GlaxoSmithKline LLC
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

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Reckitt Benckiser LLC
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

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Bayer Healthcare LLC
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808




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Sanofi-Aventis U.S. LLC
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

Served Via ECF
The Procter & Gamble Company
Andrew Soukup, Esq.
Covington & Burling LLP
One City Center
850 Tenth Street, NW
Washington, DC 20001
Email: asoukup@cov.com

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Church & Dwight Co., Inc.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

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Walmart Inc.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

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Target Corporation
c/o CT Corporation System
1010 Dale Street North
St. Paul, MN 55117-5603

Served Via USPS Certified Mail
CVS Pharmacy, Inc.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801




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c/o Illinois Corporation Service Company
801 Adlai Stevenson Drive
Springfield, IL 62703-4261

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c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

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Rite Aid Corporation
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

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Amazon.com, Inc.
c/o Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

Dated this 21st day of September 2023

                                               Respectfully Submitted,

                                               /s/ Kevin S. Hannon
                                               Kevin S. Hannon, Esq
                                               Singleton Schreiber, LLP
                                               1641 N. Downing Street
                                               Denver, CO 80218
                                               Telephone: (303) 888-8800
                                               khannon@hannonlaw.com
                                               Counsel for Plaintiffs Kenneth Levi Pack
                                               and Min Ji Jung




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